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                             UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANE DOE, A MINOR CHILD BY AND       :
THROUGH HER FATHER AND NEXT          :
FRIEND, JOHN DOE,                    :
                                     :                 CIVIL ACTION NO. 5:21-cv-04851-JFL
                       Plaintiff     :
       v.                            :
                                     :
READING RECREATION COMMISSION,:
and DAPHNE E. KLAHR, EXECUTIVE :
DIRECTOR COMMISSION, in her official :
and individual capacities,           :
                                     :
                       Defendants    :


                 DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION TO DISMISS PLAINTIFF’S COMPLAINT [DOC.1]
                           PURSUANT TO F.R.C.P. 12(B)(6)


           The Defendants above named, through counsel, MARSHALL DENNEHEY, hereby

submit this Memorandum of Law in support of their Motion to Dismiss the Plaintiff’s Complaint

in its entirety and in support thereof states the following.

      I.          SALIENT FACTUAL BACKGROUND AS ALLEGED BY PLAINTIFF

           The Reading Recreation Commission provides recreational facilities to citizens of the

City of Reading. [DOC. 1, ¶4.] Daphne E. Klahr is its Executive Director. Id, ¶6. The

Commission employed Austin Lewis Quigg. Id., ¶9. Austin Lewis Quigg engaged the minor

Plaintiff in various unlawful sexual activities on and off the playgrounds and facilities operated

by the Defendant, Reading Recreation Commission. Id, at ¶¶ 10-19.
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     II.        ISSUES

               A.      Whether Plaintiff has failed to set forth a cause of action against the

                       Defendant Reading Recreation Commission under the 14th Amendment to

                       the U.S. Constitution through 42 U.S.C. Section 1983 for an alleged

                       deprivation of the minor Plaintiff’s constitutional rights to personal

                       security and bodily integrity?

               B.      Whether Plaintiff has failed to set forth a cause of action against the

                       Defendant, Daphne E. Klahr, in her official and individual capacities as

                       the Executive Director of the Reading Recreation Commission under the

                       14th Amendment to the U.S. Constitution through 42 U.S.C. Section 1983

                       for an alleged deprivation of the minor Plaintiff’s constitutional rights to

                       personal security and bodily integrity?

               C.      Whether the Plaintiff has failed to set forth a cause of action under Title

                       IX of the Civil Rights Act of 1964, as amended, against both Defendants?

       SUGGESTED ANSWERS: in the affirmative.



    III.       LAW AND ARGUMENT

       For the purposes of deciding a 12(b)(6) motion, the Iqbal and Twombly Courts revised

the traditional standard for pleading federal causes of action such that a trial court must

determine from a review of a complaint whether or not the facts sufficiently alleged plausibly set

forth a cause of action for which a defendant may be found liable. Ashcroft v. Iqbal, 556 U.S.

662, 129 S.Ct. 1937, 137 L.Ed.2d 868 (2009); Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 127

S.Ct. 1955, 167 L.Ed.2d 929 (2007). Twombly made clear that while a plaintiff need not plead



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specifically facts upon which to base a cause of action, neither will threadbare recitals suffice to

state a claim, thereby abrogating the long-held standard in Conley v. Gibson, 335 U.S. 41 (1957).

       Defendants submit that all three counts of Plaintiff’s complaint fail under the standards of

Iqbal and Twombly for the following reasons and should be dismissed.

                                                   COUNT I

                               Plaintiff vs. Reading Recreation Commission
                             Fourteenth Amendment Violation – Section 1983

       Count I of Plaintiff’s Complaint purports to set forth a cause of action against the

Defendant Reading Recreation Commission (“RRC”) under the 14th Amendment to the U.S.

Constitution through 42 U.S.C. §1983. Paragraphs 21-27 of Count I set forth a vast number of

“failures” by the RRC that allegedly resulted in constitutional harm to the minor Plaintiff which

will be discussed below.

       At the outset, it should be noted that Plaintiff has not identified a legal theory under the

Fourteenth Amendment or §1983 that would assist counsel and the court to understand how the

law protects the Plaintiff’s identified rights to personal security and bodily integrity.

       Plaintiff could have attempted to articulate a state-created danger theory. However, in

order to state such a claim, Plaintiff’s complaint must include facts that fit each of the following

elements set forth in DeShaney v. Winnebago Cty. Soc. Servs. Dept., 489 U.S. 189, 109 S.Ct.

998, 103 L. Ed. 2d 249 (1989). In rendering its decision in DeShaney, the Supreme Court noted

that “[the purpose of the 14th Amendment] is to protect the people from the State, not to ensure

that the State protected them from each other.” Id at 195-96. Moreover, the DeShaney Court

clarified that ‘it is only when the state takes custody of a citizen, thereby depriving him of his

liberty, that it assumes an affirmative duty to protect him or her from harm…. The affirmative

duty to protect arises not from the State’s knowledge or from its expressions of intent to help

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him, but from the limitation which it has imposed on his freedom to act on his own behalf.” Id.

at 199-200.   In Bright v. Westmoreland County, 443 F.3d 276 (3d Cir. 2006), the Court

observed though, that, a constitutional violation might occur in the event a state authority is

affirmatively employed in a manner that injures a citizen or renders him ‘more vulnerable to

injury from another source than he or she would have been in the absence of state intervention.’

Id., citing Schieber v. City of Philadelphia, 320 F.3d 409 (3d Cir. 2003). Thus, a state-created

danger must include the essential elements to state a meritorious claim:

               (1) The harm ultimately caused was foreseeable and fairly direct;

               (2) A state actor acted with a degree of culpability that shocks the conscience;

               (3) A relationship between the state and the plaintiff existed such that the

                   “plaintiff was a foreseeable victim of the defendant’s acts” or a “member of a

                   discrete class of persons subjected to the potential harm brought about by the

                   State’s actions” as opposed to a member of the public in general; and

               (4) a state actor affirmatively used his or her authority in a way that created a

                   danger to the citizen of that rendered the citizen more vulnerable to danger

                   than had the state not acted at all.”

       Carving a further caveat to these conjunctive requirements, the court observed that

“liability under the state-created danger theory is predicated upon the state’s affirmative acts

which work to the plaintiff’s detriments in terms of exposure to danger.” Id., citing, D.R. by L.R.

v. Middle Bucks Area Vo. Tech. School, 972 F.2d 1364 (3d Cir. 1992) (emphasis supplied);

Brown v. Grabowski, 922 F.2d 1097, (3d Cir. 1990). In Phillips v. Allegheny County, 515 F.3d


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224 (3d Cir. 2008), Judge Nygaard, writing for the bench, observed that the Twombly and Iqbal

Courts require a ‘showing’ under FRCP 8 rather than a blanket assertion of a claim for relief.

The complaint must have enough factual matter taken as true to suggest (the establishment) of a

required element. It is not enough to surmise that discovery will reveal evidence of the

necessary element. Id. The Court must decide whether, under the set of facts set forth in a

complaint, the matter can move forward into discovery, not to discover missing facts, but to

support those alleged.

       Moving beyond the procedural requirements for a pleading under Section 1983, the

Phillips Court further observed that although individuals have a constitutional liberty interest in

personal bodily integrity that is protected by the Due Process Clause of the Fourteenth

Amendment, the Fourteenth Amendment does not impose an affirmative obligation on the state

to protect its citizens. Id., citing D.R. v. Middle Bucks Area Vocational Technical School, 972

F.2d 1364 (3d Cir. 1992) citing Ingraham v. Wright, 430 U.S. 651, 97 S.Ct. 1401, 51 L.Ed.2d

711 (1977); and Deshaney v. Winnebago Cnty Dept. of Soc. Servs., 489 U.S. 189, 109 S.Ct. 998,

103 L.Ed.2d 249 (1989). Moreover, the Phillips Court observed that ‘our jurisprudence requires

that [Plaintiff] allege an affirmative action, rather than an inaction or omission.’ Id., citing

Bright, 443 F.3d 282, citing D.R. v. Middle Bucks Area Vo. Tech. Sc., at 1374. See, also,

Morrow v. Balaski, 719 F.3 160 (3rd Cir. 2013).

       Reviewing Plaintiff’s claim under Count I, paragraphs 21-27 purport to identify what

Defendant RRC “knew” and “failed to do” in spite of that knowledge. For example, Plaintiff

alleges at paragraph 22 that “Defendant RRC knew that they were dealing on a daily basis with

children who were emotionally insecure….”; and at paragraph 23, “Defendant failed to create a

culture within their organization where child sexual abuse was discussed, addressed, prevented



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and promptly reported.” Paragraph 24, likewise, sets out 15 subparagraphs of “failures” with

“deliberate indifference” that Defendant should have corrected in terms of creating and

implementing policies and procedures to protect the minor Plaintiff from Austin Lewis Quigg.

       It is respectfully submitted that the allegations set forth in Count I of Plaintiff’s complaint

fall woefully short of meeting the necessary elements of a state-created danger theory based upon

affirmative acts of the Defendant. Critically missing from the pleading is the identity or

description of any affirmative action that was taken by the RRC that placed the minor Plaintiff in

greater harm than she would have been in had the action not been taken. Had such facts been

pleaded, an analysis of the aforesaid DeShaney factors would likely be useful to assist the Court

in determining whether the facts pleaded sufficiently suggest the elements. However, based

upon a host of missing facts resulting in a failure of pleading, a state-created danger under the

14th Amendment, Count I of Plaintiff’s Complaint must fail.

       Plaintiff’s next option under 42 U.S.C. Section 1983 could be a Monell claim. Under

Monell, “failure to” claims, - failure to train, failure to discipline or failure to supervise… are

generally considered a subcategory of policy and practice liability. Benedict v. Southwestern

Pennsylvania Human Services, Inc., 98 F.Supp.3d 809 (Pa. W.D. 2015), citing, Barkes v. First

Corr. Med., Inc., 766 F.3d 307 (3d Cir. 2014). In Monell v. Dept. of Soc. Serv. of City of New

York, 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978), our Supreme Court held that Congress

did not intend for local governmental units to be included among the “persons” to whom Section

1983 applies. Local governing bodies can only be sued directly under Section 1983 for

monetary, declaratory or injunctive relief where the action that is alleged to be unconstitutional

implements or executes a policy statement, ordinance, regulation or decision officially adopted

and promulgated by that body’s officers. And although the touchstone of the Section 1983



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action is that official policy is responsible for a deprivation of rights protected by the

Constitution, local governments, like every other “1983” person, may be sued for constitutional

deprivations visited pursuant to governmental custom even though such a custom has not

received formal approval through the body’s official decision-making channels. Id. at 690.

Similar to the state-created danger analysis, Congress did not intend a local governmental agency

to be liable simply by employing a tortfeasor; there is no respondeat superior liability. Id.

        Under the allegations of Plaintiff’s Complaint, both the RRC and its Executive Director

have been accused of negligence for failing to adopt policies and provide training under those

policies that protected the minor plaintiff from its employee, Austin Lewis Quigg. Plaintiff

alternatively alleges in paragraph 26: “Acting under color of law and pursuant to official policy,

practice and/or custom the RRC intentionally, knowingly, and recklessly failed to instruct,

supervise, control, train and discipline on a continuing basis their employee Austin Lewis Quigg

which would have prevented the [minor female plaintiff’s] sexual abuse and subsequent

injuries.”

        Defendants, RRC and Daphne E. Klahr, submit that, under Monell, an official policy or

custom must be the moving force that causes the injury to a plaintiff. Id. at 694. Plaintiff has

alleged at paragraph 24 that, “as a matter of policy and practice, the [RRC] has failed to adopt

and/or enforce needed policies; and, has failed to act, and acted with deliberate indifference to

[15 separate subcategories of] “failures” which would have prevented Plaintiff’s harm. [DOC. 1,

¶24 (a)-(o).] In sum, Plaintiff alleges that a host of “failures” was the moving force in creating a

culture that failed to protect the minor plaintiff from harm. But Plaintiff must allege an “action”

that was unconstitutionally performed by virtue of a custom or policy; not a failure, or an

“inaction.” Monell at 690. In other words, a failure of training may only be the basis for liability



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where the actions of [officials] amounts to deliberate indifference to the rights of persons with

whom the [officials] come into contact. City of Canton, Ohio v. Harris, 489 U.S. 378, 109 S.Ct.

1197, 103 L.Ed.2d. 412 (1989). In Canton, the Court noted that the first inquiry to be made in a

claim alleging municipal liability is whether there is a causal link between the alleged policy, or

lack thereof, and the constitutional violation. Here, that inquiry cannot be answered with factual

allegations in the complaint because there are no facts that link a failed policy, or lack of a

policy, to the constitutional violation alleged. Although Quigg was an employee of the RRC,

even assuming as true that the RRC had no policies or training of employees to detect child

abuse, there are no facts upon which to conclude that the lack of policies or training was the

direct cause of the constitutional violation. Under these facts as alleged, it is quite clear and

likely true that Quigg abused the minor Plaintiff regardless of the existence of policies or training

and there are no facts upon which this Court may conclude that actions taken by employees of

the RRC were so clearly erroneous that a constitutional violation was inevitable or reasonably

likely to occur. Again, Plaintiff relies solely upon threadbare assertions and legal conclusions or

recitation of elements to attempt to establish a claim. But there are no facts upon which to base a

showing such that discovery of information or documents would supply proof.

       Such being the case, Plaintiff’s allegations against the RRC cannot be said to state a

claim under Monell because Plaintiff is claiming a failure or want of policy, a failure or want of

custom, a failure or want of training and supervising and disciplining without any particularized

factual support to suggest the necessary elements in a showing that such actions allegedly caused

Plaintiff’s harm. Therefore, Plaintiff has failed to plead sufficient facts to show a claim under

Monell.




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                                                   COUNT II

                 PLAINTIFF VS. DAPHNE E. KLAHR, EXECUTIVE DIRECTOR, IN HER
                    OFFICIAL CAPACITY 14TH AMENDMENT – Section 1983

        Plaintiff has pled both official and individual capacity claims against Defendant Klahr as

the Executive Director of the RRC, who, “was directly responsible for the formulation and

implementation of policies which would protect the safety, personal security, bodily integrity and

welfare of children such as the minor Plaintiff and that, acting in both her official and individual

capacities, “failed as previously described in paragraph 24 of this complaint.” At paragraph 29,

Plaintiff also alleges that Defendant Klahr’s responsibilities also included “training of

employees, supervisors and volunteers.” In paragraph 31, Plaintiff further alleges that

Defendant Klahr acted “with deliberate indifference to the consequences, established and

maintained a policy, practice or custom which directly caused the minor Plaintiff’s constitutional

harm.” The balance of the allegations in paragraphs 32-34 set forth “failures” that caused

employees to overlook a similar pattern of constitutional violations that were “so obvious” and

that the inadequacy of the existing training was “so likely” to result in a violation of the minor

plaintiff’s constitutional rights.

        Defendant, Klahr, submits that the pleading of Count II is devoid of a theory of liability

under the 14th Amendment and 42 U.S.C. Section 1983 from which this court and counsel could

review the necessary elements, review the facts, and determine whether a showing of a

constitutional violation has been made at the pleading stage. From a state-created danger theory,

Count II is devoid of any affirmative acts to which the Plaintiff has pointed out in paragraph 24

(a)-(o) that establish the “action” element necessary to state a cause of action on this theory.

Moreover, official capacity claims are redundant to claims against the governmental agency and

therefore, this claim should be dismissed. Monell.

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       With respect to the Plaintiff’s claim against Defendant Klahr in her individual capacity,

there are two theories under which Plaintiff may have proceeded. With respect to the first

theory, Plaintiff must allege facts that establish supervisor liability such that she affirmatively

acted in a manner and with deliberate indifference to the consequences that established a policy,

practice or custom which caused constitutional harm. Sheils v. Bucks County Domestic Relations

Section et, al., 921 F.Supp.2d 396 (E.D., PA 2013), citing A.M. ex. rel. J.M.K. v. Luzerne County

Juv.Det. Ctr., 372 F.3d 572 (3d Cir. 2004). Plaintiff does not allege any facts that establish a

showing of any action in contravention of and with deliberate indifference to a violation of the

minor Plaintiff’s right to bodily integrity that caused harm. With respect to the second theory,

Count II is also devoid of any factual allegations that support a theory that the supervisor actually

took part in violating Plaintiff’s rights, directed others to violate them, or as the person in charge,

had knowledge of and acquiesced in a subordinate’s violations. Santiago v. Warminster Twp.,

629 F.3d 121 (3d Cir. 2010).

       The problem with this Count and both avenues of potential liability that could have been

pleaded is that plaintiff cites no facts that connect any identified policy or custom that Defendant

Klahr allegedly either did personally, or failed to employ, that created an unreasonable risk of

harm to the minor Plaintiff by Austin Lewis Quigg. By simply alleging that Defendant Klahr

“failed to” create a culture of awareness of [Austin Lewis Quigg’s tendencies towards the minor

Plaintiff] that, if implemented, would have protected the minor plaintiff from him, Plaintiff falls

short of meeting the requisite standards of pleading under the jurisprudence of our Circuit.

Neither does this pleading identify any specific alleged supervisory act, practice or procedure

that Defendant Klahr performed outside of a written policy that placed the minor plaintiff

unreasonably in harm’s way in violation of her constitutional right to bodily integrity. There is



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simply no specific, factual description of the content of a policy, a custom, or a practice that was

unconstitutional on its face, or as applied by Defendant Klahr, that caused plaintiff’s harm.

Likewise, there are no specific facts describing a supervisory act committed personally by

Defendant Klahr that placed the minor plaintiff in harm’s way.

       Consequently, whether in her official capacity, or individual capacity, Plaintiff has failed

to state a claim against Defendant Klahr upon which relief can be granted and therefore Count II

should be dismissed.

                                                COUNT III

                               Plaintiff vs. Reading Recreation Commission
                                         Alleged Title IX Violation

       Once again, Defendants that submit that Plaintiff’s pleading falls short of the

requirements necessary to state a cause of action under the theory alleged. Here, Plaintiff claims

that the Defendant, RRC, violated Title IX by failing to investigate and report sexual abuse.

Taking these allegations are true, as we must, Plaintiff has not articulated facts to show that Title

IX applies to these Defendants. To wit, Title IX, 20 U.S.C.A. Section 1681, was designed to

protect school students from gender discrimination in education. In fact, the statute sets forth the

following in pertinent part:

               “(a) No person in the United States shall, on the basis of sex, be excluded from
                    participation in, be denied the benefits of, or be subjected to discrimination
                    under any education program, or activity, receiving Federal Financial
                    assistance, except that:

                       (1) Classes of educational institutions subject to prohibition

                           (c ) Educational Institutions defined

                               For purposes of this chapter an educational institution means any
                               public or private pre-school, elementary or secondary school, or
                               any institution of vocational, professional or higher education,
                               except that in the case of an educational institution composed of

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                               more than one school, college or department which are
                               administratively separate units such term means each such school,
                               unit or department.”

       In the case at bar, it is clear that the Defendant Reading Recreation Commission, from the

allegations of the Complaint, is not a public or private school, or an educational facility of any

kind. Simply because Plaintiff alleges that the City and the School District of Reading have

partnered to create places of recreation throughout the City for the benefit of children and adults

by providing playgrounds and other facilities, no reasonable inference can be drawn that those

entities have unwittingly created an educational environment subject to Title IX liabilities as

Plaintiff in this case would suggest. To the contrary, no Title IX jurisdiction exists that creates

liability for a non-educational institution. Such being the case, Count III must be dismissed.

       Moreover, Plaintiff has done nothing more in Count III than recite elements of a Title IX

legal standard. There are no facts pleaded under FRCP 8 that would suffice to establish any

element of a legal theory under Title IX. Therefore, Plaintiff’s pleading of an alleged Title IX

violation cannot withstand judicial scrutiny under Rule 8 or Rule 12(b)(6) and should be

dismissed.



CONCLUSION

       For all of the foregoing reasons, and those set forth in the Certificate attached,

Defendants respectfully request this Honorable Court to dismiss Counts I-III with prejudice.


                                                              Respectfully submitted,

                                                              MARSHALL DENNEHEY

                                                      BY:     /s/Sharon M. O'Donnell
                                                              Sharon M. O'Donnell, Esquire
                                                              PA I.D. No. 79457

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                                              Recreational Commission and
                                              Daphne E. Klahr
DATE: December 6, 2021




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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE DOE, A MINOR CHILD BY AND       :
THROUGH HER FATHER AND NEXT          :
FRIEND, JOHN DOE,                    :
                                     :            CIVIL ACTION NO. 5:21-cv-04851-JFL
                       Plaintiff     :
       v.                            :
                                     :
READING RECREATION COMMISSION,:
and DAPHNE E. KLAHR, EXECUTIVE :
DIRECTOR COMMISSION, in her official :
and individual capacities,           :
                                     :
                       Defendants    :

                             CERTIFICATION OF COUNSEL

                PER JUDGE LEESON’S POLICIES AND PROCEDURES

                                          Section 2

       I, Sharon M. O’Donnell, PA Bar ID#79457 hereby certify that I contacted David

Dautrich, Esquire, opposing counsel, to discuss my intention to file a motion to dismiss the

complaint in its entirety; that Mr. Dautrich and I discussed the claims; that at the

conclusion of our conversation, Mr. Dautrich was unwilling to make changes or revisions to

his pleading and agreed to waive the 5-day rule in the event the same was necessary before

this motion was filed. I further certify that this conversation took place by telephone on

Wednesday December 1, 2021, at 11:00 a.m.

                                                          MARSHALL DENNEHEY

                                                  BY:     /s/Sharon M. O'Donnell
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                                              Attorneys for Defendants, Reading
                                              Recreational Commission and
                                              Daphne E. Klahr
DATE: December 6, 2021




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                                 CERTIFICATE OF SERVICE


        I, Sharon M. O’Donnell, Esquire hereby certify that a true and correct copy of the

foregoing Memorandum of Law in Support of Motion to Dismiss Plaintiff’s Complaint, and

Certification of Counsel, was electronically filed with the Court this date and is available for

viewing and downloading from the ECF System.


                                                              MARSHALL, DENNEHEY

DATE: December 6, 2021                                BY:     /s/ Sharon M. O’Donnell
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